Case 2:11-bk-46267-RN        Doc 44 Filed 01/13/12 Entered 01/13/12 07:53:35                  Desc
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 1   PETER C. ANDERSON
     UNITED STATES TRUSTEE                                           FILED & ENTERED
 2   JILL M. STURTEVANT, State Bar No. 089395
     ASSISTANT UNITED STATES TRUSTEE
 3   RUSSELL CLEMENTSON, State Bar No. 143284                           JAN 13 2012
     TRIAL ATTORNEY
 4   OFFICE OF THE UNITED STATES TRUSTEE
     725 South Figueroa Street, Suite 2600                           CLERK U.S. BANKRUPTCY COURT
                                                                     Central District of California
 5   Los Angeles, California 90017-5418                              BY gae        DEPUTY CLERK
     (213) 894-4505 telephone
 6   (213) 894-2603 facsimile
     Email: Russell.clementson@usdoj.gov
 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA

10                                       LOS ANGELES DIVISION

11

12   In re:                          )                  Case No.: 2:11-bk-46267-RN
                                     )
13   COLONIAL YACHT ANCHORAGE, INC., )                  Chapter 11
                                     )
14             Debtor.               )                  ORDER GRANTING UNITED STATES
                                     )                  TRUSTEE’S MOTION TO DISMISS OR
15                                   )                  CONVERT CASE
                                     )
16                                   )                  Date: January 10, 2012
                                                        Time: 9:00 a.m.
17                                                      Ctrm: 1645
18

19

20            The United States Trustee's Motion to Convert or Dismiss this case per § 1112(b) with an

21   Order directing payment of Quarterly Fees (“Motion”) came on for hearing on the above date and

22   time. Appearances were made as reflected on the record. The Court having considered the record

23   herein, the arguments of counsel and interested parties, and for good cause appearing,

24            IT IS HEREBY ORDERED that the Motion is granted and that this case be and hereby is

25   DISMISSED effective March 1, 2012.

26            IT IS FURTHER ORDERED that the United States Trustee is granted a judgment in the
     amount of $1300.00 for quarterly fees due and unpaid in this case. Quarterly fees continue to
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                                                  1
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 1   accrue until an order is entered and are assessed interest pursuant to 31 U.S.C. §3717 if not paid

 2   timely.

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     DATED: January 13, 2012
25                                            United States Bankruptcy Judge

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                                                  2
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NOTE: When using this form to indicate service of a proposed order, DO NOT list any person or entity in Category I.
Proposed orders do not generate an NEF because only orders that have been entered are placed on the CM/ECF docket.


                                           PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                            725 South Figueroa Street, Suite 2600, Los Angeles, California 90017-1574

A true and correct copy of the foregoing document described as: ORDER GRANTING UNITED STATES
TRUSTEE’S MOTION TO DISMISS OR CONVERT CASE
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner indicated below:

I.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to controlling
General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via NEF and
hyperlink to the document. On n/a I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the email
address(es) indicated below:

                                             SEE ATTACHED SERVICE LIST (IF APPLICABLE)

                                                                                                  Service information continued on attached page

II.     SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served):
On 1/12/12 I served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States Mail, first class,
postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge here constitutes a declaration
that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                             SEE ATTACHED SERVICE LIST (IF APPLICABLE)

                                                                                                  Service information continued on attached page

III.     SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for each person
or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 1/12/12 I served the following person(s) and/or
entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on the judge will be completed
no later than 24 hours after the document is filed. Upon filing I will be giving a field document to a Court delivery
service consistent with our normal business practice, with instructions to deliver the copy to the bin outside the
suite (Court Manual Appendix F), as follows:

                                             SEE ATTACHED SERVICE LIST (IF APPLICABLE)

                                                                                                  Service information continued on attached page


I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.


  1/12/12                        Stephanie Hill                              /s/Stephanie Hill
  Date                           Type Name                                   Signature



              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of Calif ornia.

August 2010                                                                                       F.9013-3.1.PROOF.OF.SERVICE
                                                                        3
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                                                     ADDITIONAL SERVICE INFORMATION

I.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)
        n/a


II.     SERVED BY U.S. MAIL OR OVERNIGHT MAIL:

        Debtor:
        Colonial Yacht Anchorage, Inc.
        Berth 204 Anchorage Road
        Wilmington, CA 90744

        Debtor’s Counsel:
        Paul M Brent
        Steinberg Nutter & Brent
        23801 Calabasas Rd, Ste. 2031
        Calabasas, CA 91302

        SERVED BY FEDERAL EXPRESS
        U.S. Bankruptcy Court
        255 E. Temple Street, Room 940
        Los Angeles, CA 90012
        Attn. Mail Room Clerk- Judges Copies


III.    SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL:

        n/a




              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of Calif ornia.

August 2010                                                                                       F.9013-3.1.PROOF.OF.SERVICE
                                                                        4
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                                                        NOTE TO USERS OF THIS FORM:
1)      Attach this form to the last page of a proposed Order or Judgment. Do not file as a separate document.
2)      The title of the judgment or order and all service information must be filled in by the party lodging the order.
3)      Category I. below: The United States trustee and case trustee (if any) will always be in this category.
4)      Category II. below: List ONLY addresses for debtor (and attorney), movant (or attorney) and person/entity (or attorney) who filed
an opposition to the requested relief. DO NOT list an address if person/entity is listed in category I.


                               NOTICE OF ENTERED ORDER AND SERVICE LIST
Notice is given by the court that a judgment or order entitled (specify): ORDER GRANTING UNITED STATES
TRUSTEE’S MOTION TO DISMISS OR CONVERT CASE

was entered on the date indicated as AEntered@ on the first page of this judgment or order and will be served in the
manner indicated below:


I.        SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (ANEF@) B Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s), the foregoing document was served on the following person(s) by the court via NEF
and hyperlink to the judgment or order. As of 1/12/12 , the following person(s) are currently on the Electronic Mail Notice List
for this bankruptcy case or adversary proceeding to receive NEF transmission at the email address(es) indicated below.

                                             SEE ATTACHED SERVICE LIST(IF APPLICABLE)

                                                                                                 Service information continued on attached page

II.     SERVED BY THE COURT VIA U.S. MAIL: A copy of this notice and a true copy of this judgment or order was sent
by United States Mail, first class, postage prepaid, to the following person(s) and/or entity(ies) at the address(es) indicated
below:

                                             SEE ATTACHED SERVICE LIST (IF APPLICABLE)

                                                                                                 Service information continued on attached page


III.    TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this judgment or order which
bears an AEntered@ stamp, the party lodging the judgment or order will serve a complete copy bearing an AEntered@ stamp by
U.S. Mail, overnight mail, facsimile transmission or email and file a proof of service of the entered order on the following
person(s) and/or entity(ies) at the address(es), facsimile transmission number(s) and/or email address(es) indicated below:

                                             SEE ATTACHED SERVICE LIST (IF APPLICABLE)

                                                                                                 Service information continued on attached page




              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

August 2010                                                                           F 9021-1.1.NOTICE.ENTERED.ORDER
                                                                        5
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                                                     ADDITIONAL SERVICE INFORMATION

I.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

                         •    Paul M Brent snb300@aol.com
                         •    Russell Clementson russell.clementson@usdoj.gov
                         •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                         •    Hatty K Yip hatty.yip@usdoj.gov




II.     SERVED BY THE COURT VIA U.S. MAIL:

        Debtor:
        Colonial Yacht Anchorage, Inc.
        Berth 204 Anchorage Road
        Wilmington, CA 90744

III.    TO BE SERVED BY THE LODGING PARTY:
        n/a




              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

August 2010                                                                           F 9021-1.1.NOTICE.ENTERED.ORDER
                                                                        6
